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Bee HATTEN, Clerk
IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

UNITED STATES OF AMERICA

UNDER SEAL
a. Criminal Indictment
VICTOR HILL No. §221CR-143
THE GRAND JURY CHARGES THAT
Introduction

At all times material to this Indictment

1. The Clayton County Jail (“the jail”) was a facility in Jonesboro, Georgia,

that housed pretrial detainees awaiting trial and convicted inmates awaiting
transfer to state prison

2. The Clayton County Sheriff's Office (“CCSO”) was the law enforcement
agency responsible for staffing, maintaining, and running the jail

3. Defendant VICTOR HILL was the Clayton County Sheriff and was in
charge of the CCSO and the administration of the jail

4. Asacertified law enforcement officer, Defendant HILL regularly received

training, including use-of-force training that instructed force may not be used to
punish a subject

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5. The CCSO’s “Inmate Restraint Chair” policy (“the policy”), which had
been approved by Defendant HILL, stated that “a restraint chair may be used by
Security staff to provide safe containment of an inmate exhibiting violent or
uncontrollable behavior and to prevent self-injury, injury to others or property
damage when other control techniques are not effective.”

6. Consistent with the Fourteenth Amendment's Due Process Clause, the
policy emphasized that use of a restraint chair “will never be authorized as a

form of punishment.”

Background
Victim J.A.

7. On February 3, 2020, J.A. allegedly assaulted two women during a dispute
about who was next in line at a Clayton County grocery store.

8. More than three weeks later, on the afternoon of February 25, 2020, J.A.
was arrested by Forest Park Police Department officers and CCSO deputies
without incident. Clayton County records indicate J.A. was unarmed, not under
the influence of drugs, and offered no resistance.

9. A short time later, J.A. was booked into the jail as a pretrial detainee

pending trial on charges stemming from the grocery store incident.
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10. During the booking process, J.A. was escorted by a group of deputies and
correction officers to the fingerprinting area where Defendant HILL confronted
J.A.

11. During their exchange, Defendant HILL asked J.A. what J.A. had been
doing in Clayton County on the day of the assault. J.A. replied, “It’s a
democracy, sir. It’s the United States.” Defendant HILL snapped back, “No, it’s
not. Not in my county.”

12. When J.A. asked whether he was entitled to a fair and speedy trial,
Defendant HILL replied, “Roll that chair around here. You stay out of Clayton
County, you understand me? You sound like a dummy.”

13. When J.A. again asked whether he was entitled to a fair and speedy trial,
Defendant HILL replied, “You entitled to sit in this chair, and you're entitled to
get the hell out of my county and don’t come back. That’s what you're entitled
to. You sound like a damn jackass. Don’t you ever put your hand on a woman
like that again. You're fortunate that wasn’t my mother or grandmama or you
wouldn’t be standing there. Now, sit there and see if you can get some damn

sense in your head.”
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14. During J.A.’s interaction with Defendant HILL, J.A. was surrounded by
law enforcement personnel at all times, was handcuffed most of the time, and
never posed a threat to anyone.

15. Following the interaction, J.A. was strapped into a restraint chair and left
there for hours per Defendant HILL’s orders.

Victim C.H.

16. On April 26, 2020, C.H., who had just turned seventeen years old,
allegedly vandalized his family home during an argument with his mother and
then left.

17. Shortly thereafter, a CCSO deputy apprehended C.H. nearby without
incident and turned C.H. over to the custody of the Clayton County Police
Department (“CCPD”). Clayton County records indicate C.H. was unarmed, not
under the influence of drugs, and offered no resistance.

18. The deputy, a CCSO supervisor, then spoke with Defendant HILL on the
phone, texted Defendant HILL a photograph of C.H. handcuffed and seated ina
CCPD vehicle, and had the following text message exchange with Defendant
HILL:

e Defendant HILL: How old is he?

e Deputy: 17
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e Defendant HILL: Chair

19. A few hours later, very early on April 27, 2020, C.H. was booked into the
jail as a pretrial detainee pending trial on charges stemming from the incident at
his home.

20. Although C.H. had been compliant with law enforcement during and
after his arrest and never posed a threat to anyone, he was strapped into a
restraint chair and left there for several hours per Defendant HILL’s orders.

Victim J.H.

21. On the morning of April 27, 2020, J.H. was arrested by the Jonesboro
Police Department following a domestic disturbance with possible drug use.

22. At the police station after his arrest, J.H. fell out of a chair after apparently
pretending to pass out. J.H. was transported to Southern Regional Medical
Center for evaluation.

23. While being treated at the hospital, J.H. refused treatment and left the
building.

24. When Jonesboro police officers later re-apprehended J.H. outside his
erandmother’s house that afternoon, J.H. did not cooperate or comply with

officers’ commands and had to be carried down some steps and placed into a
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patrol vehicle. Clayton County records indicate that J.H. was unarmed, not
under the influence of drugs, and offered no resistance.

25. In the patrol vehicle, J.H. again appeared to feign unconsciousness but
offered no resistance.

26. Shortly thereafter, still during the afternoon of April 27, 2020, J.H. was
booked into the jail as a pretrial detainee pending trial on charges stemming
from the domestic disturbance.

27. Upon J.H.’s his arrival at the jail, although J.H. was not combative and
never posed a threat to anyone, J.H. was strapped into a restraint chair and left
there for several hours per Defendant HILL’s orders.

28. During his time in the restraint chair, J.H. was not allowed to go to the
restroom and urinated on the restraint chair.

29. While C.H. and J.H. were both strapped in restraint chairs near each
other, Defendant HILL confronted them. Referring to C.H., Defendant HILL
said, “You know what he did yesterday? He went and destroyed his mother’s
house yesterday. That's what this asshole right here did.”

30. Addressing both C.H. and J.H., Defendant HILL then opined, “I think
both of y‘all are just assholes that need a man to kick y’all in the ass and y’all be
okay. I don’t think y’all are bad people.”

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31. Still addressing both C.H. and J.H., Defendant HILL added, “Now, I’m
going to tell you something. If I hear about you (C.H.) messing up your mama’s
house again, if | hear about you (J.H.) fighting cops and faking and going to the
Southern Regional and then walking out and pulling out the IV, I'ma sit your
ass in that chair for sixteen hours straight. Do you understand me? I need to
hear from both of y’all that y’all not gonna show y’all’s ass in my county no
more.”

Victim G.H.

32. G.H. and a CCSO deputy had a payment dispute over some landscaping
work G.H. did for the deputy in Butts County, Georgia. The work and dispute
were unrelated to the deputy’s employment with the CCSO. After learning
about the dispute, Defendant HILL called G.H. on April 23, 2020.

33. During the call, Defendant HILL identified himself as the Clayton County
Sheriff and asked G.H. why he was harassing his deputy. G.H. replied that
Defendant Hill should tell his deputy to pay his bill and added, “you can go fuck
yourself.” The call then ended.

34. Unsure whether the caller had actually been the Clayton County Sheriff,

G.H. used FaceTime to call back several times until Defendant HILL answered

and removed a mask he was wearing.
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35. After the FaceTime calls, Defendant HILL texted G.H., warning him not to
call or text anymore. G.H. responded via text, “So this is Victor Hill correct.”
Defendant HILL responded with a second text warning for G.H. not to call or
text him anymore.

36. Although G.H. did not call or text again, Defendant HILL the next day
instructed a CCSO deputy to swear out an arrest warrant against G.H. for
harassing communications.

37. The next day, April 24, 2020, Defendant HILL texted G.H., “[T]his is
Sheriff Victor Hill. We have a warrant for your arrest. Would you like to turn
yourself in, or have my Deputies find you?” G.H. did not respond.

38. The next morning, April 25, 2020, Defendant HILL again texted G.H., “My
Deputies are actively looking for you. We have not and will not agree for you to
turn yourself in when you want to. Turn yourself in today.”

39. Meanwhile, Defendant HILL had sent a fugitive squad armed with
handguns and AR-15 rifles to Butts County in an attempt to arrest G.H. on the

misdemeanor arrest warrant.
40. After retaining a lawyer, G.H. turned himself in at the CCSO during the
evening of April 27, 2020. Clayton County records indicate that G.H. was

unarmed, not under the influence of drugs, and offered no resistance.

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41, Shortly thereafter, G.H. was booked into the jail as a pretrial detainee
pending trial on the harassing communications charges.

42. Surveillance footage from the jail shows G.H. interacting with jail
personnel for more than half an hour, during which time he appeared
cooperative and compliant, before Defendant HILL arrived and confronted him.

43. Immediately upon Defendant HILL’s arrival, although G.H. was
surrounded by law enforcement personnel, remained compliant, and never
posed a threat to anyone, G.H. was strapped into a restraint chair and left there
for several hours per Defendant HILL’s orders.

Count One

44. The Grand Jury re-alleges and incorporates by reference Paragraphs 1
through 43 of this Indictment as if fully set forth here.

45. On or about February 25, 2020, in the Northern District of Georgia,
Defendant VICTOR HILL, while acting under color of law, willfully deprived
J.A. of the right, secured and protected by the Constitution and laws of the
United States, not to be deprived of liberty without due process of law, which
includes the right to be free from the use of unreasonable force by law
enforcement officers amounting to punishment. Specifically, Defendant HILL

caused J.A. to be strapped into a restraint chair for a period exceeding that

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justified by any legitimate nonpunitive government purpose. This offense
caused physical pain and resulted in bodily injury to J.A.
Allin violation of Title 18, United States Code, Section 242.
Count Two

46. The Grand Jury re-alleges and incorporates by reference Paragraphs 1
through 43 of this Indictment as if fully set forth here.

47. On or about April 27, 2020, in the Northern District of Georgia, Defendant
VICTOR HILL, while acting under color of law, willfully deprived C.H. of the
right, secured and protected by the Constitution and laws of the United States,
not to be deprived of liberty without due process of law, which includes the right
to be free from the use of unreasonable force by law enforcement officers
amounting to punishment. Specifically, Defendant HILL caused C.H. to be
strapped into a restraint chair for a period exceeding that justified by any
legitimate nonpunitive government purpose. This offense caused physical pain
and resulted in bodily injury to C-H.

All in violation of Title 18, United States Code, Section 242.

Count Three
48. The Grand Jury re-alleges and incorporates by reference Paragraphs 1

through 43 of this Indictment as if fully set forth here.

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49. On or about April 27, 2020, in the Northern District of Georgia, Defendant
VICTOR HILL, while acting under color of law, willfully deprived J.H. of the
right, secured and protected by the Constitution and laws of the United States,
not to be deprived of liberty without due process of law, which includes the right
to be free from the use of unreasonable force by law enforcement officers
amounting to punishment. Specifically, Defendant HILL caused J.H. to be
strapped into a restraint chair for a period exceeding that justified by any
legitimate nonpunitive government purpose. This offense caused physical pain
and resulted in bodily injury to J.H.

All in violation of Title 18, United States Code, Section 242.

Count Four

50. The Grand Jury re-alleges and incorporates by reference Paragraphs 1
through 43 of this Indictment as if fully set forth here.

51. On or about April 27, 2020, in the Northern District of Georgia, Defendant
VICTOR HILL, while acting under color of law, willfully deprived G.H. of the
right, secured and protected by the Constitution and laws of the United States,
not to be deprived of liberty without due process of law, which includes the right
to be free from the use of unreasonable force by law enforcement officers

amounting to punishment. Specifically, Defendant HILL ordered G.H. to be

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strapped into a restraint chair for a period exceeding that justified by any
legitimate nonpunitive government purpose. This offense caused physical pain
and resulted in bodily injury to G.H.

All in violation of Title 18, United States Code, Section 242.

A Tai E BILL
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